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                       UNITED STATES OF DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                                   MINUTES
 Case Number          Date              Time                   Place           Judge

  1:18-cv-1204      2/11/2019    9:56 AM - 10:16 AM        Grand Rapids     Janet T. Neff


                                   CASE CAPTION
     Plaintiff:                                                Defendant:
Larry Sevenski                               Brock Artfitch



                                   APPEARANCES
     Attorney:                                           Representing:
Amy J. DeRouin                               Plaintiff

Kevin J. O'Dowd for John G. Fedynsky         Defendant



                                   PROCEEDINGS


NATURE OF HEARING: Rule 16 Scheduling Conference held; Case Management Order to
issue.


                             Court Reporter: (not recorded)
                             Case Manager: Rick Wolters
